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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 JAZZ PHARMACEUTICALS, INC.,     )
                                 )          PUBLIC VERSION
                Plaintiff,       )
                                 )
        v.                       )          C.A. No. 21-691 (GBW)
                                 )
 AVADEL CNS PHARMACEUTICALS LLC, )
                                 )
                Defendant.       )


 JAZZ PHARMACEUTICALS, INC. and  )
 JAZZ PHARMACEUTICALS IRELAND    )
 LIMITED,                        )
                                 )
                Plaintiffs,      )
                                 )
        v.                       )          C.A. No. 21-1138 (GBW)
                                 )
 AVADEL CNS PHARMACEUTICALS LLC, )
                                 )
                Defendant.       )


 JAZZ PHARMACEUTICALS, INC. and  )
 JAZZ PHARMACEUTICALS IRELAND    )
 LIMITED,                        )
                                 )
                Plaintiffs,      )
                                 )
        v.                       )          C.A. No. 21-1594 (GBW)
                                 )
 AVADEL CNS PHARMACEUTICALS LLC, )
                                 )
                Defendant.       )


                      PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF
                      MOTION FOR A PERMANENT INJUNCTION
                          AND FOR AN ONGOING ROYALTY


 Confidential Version Filed: May 20, 2024
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  Avadel Rings the Closing Bell, Nasdaq (Jun. 29, 2023) (available        “Ex. 25”
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        This is not about whether Avadel should be permitted to market any once-nightly oxybate.

 Instead, this is about whether Avadel should be permitted to continue infringing the specific

 formulation of claim 24. Avadel does not dispute that its patents disclose formulations that do not

 infringe claim 24. Instead, Avadel chooses to infringe; it doubles down on using Jazz’s innovation

 to target Jazz’s patients to switch to Lumryz™ through the ’782 patent’s expiry in 2036, including

 by seeking to expand Lumryz’s label to include an IH indication. No court has denied an injunction

 when such facts are present. This Court should not be the first.

 I.     An Injunction Would Not Disserve The Public Interest

        The requested injunction “strikes a workable balance between protecting the patentee’s

 rights and protecting the public from the injunction’s adverse effects.” i4i Ltd. P’ship v. Microsoft

 Corp., 598 F.3d 831, 863 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011). Avadel’s claim that Lumryz

 is a “sea change” that must be put above Jazz’s rights (Op. at 3), is baseless.

        First, Lumryz does not give a better “chance to get an undisturbed night’s sleep” than

 Jazz’s products. Id. Instead, data shows that both parties’ products similarly reduce the number

 of narcolepsy nighttime awakenings from about 80 to about 40. Exs. 20-22; Bogan ¶¶28-29.

        Second, Jazz did not “ignore[]” or “belittle[]” Lumryz’s alleged clinical superiority. Op.

 at 5-7. Instead, Jazz explained the alleged superiority is limited to non-salt-sensitive narcolepsy

 patients only. Br. at 15-16. Avadel ignores data showing that most patients do not fall within the

 FDA’s limited finding. Id. at 16. Instead, Avadel misleadingly quotes JTX112 to proclaim, like

 it does to the detriment of Jazz’s reputation and goodwill, that “once-nightly dosing would

 outweigh the risk of increased sodium intake.” Op. at 6. It does not say that. See Br. 15-16.

        Third, unlike in the cases Avadel cites (Id. at 7), Lumryz is not safer or more effective than

 Jazz’s products (Bogan ¶¶26-34), nor is it life-saving. Despite Avadel’s protest (Op. at 6), FDA




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 rejected Avadel’s claim that Lumryz provides “greater safety . . . over either Xyrem or Xywav”

 (JTX112.28), and instead found “Lumryz raises the same safety concern that was present for

 Xyrem [] that is not present for Xywav” (JTX112.32). FDA also found “[t]here is no evidence

 suggesting that the efficacy of Lumryz is different from that of Xyrem or Xywav” JTX112.28, let

 alone any better. In fact, the same alleged side effects of Jazz’s products exist for Lumryz. Of

 1700 Lumryz prescriptions so far, ~630 adverse events have been reported to FDA, including ~120

 reports of missed/wrong doses, 300+ reports of insomnia/drug ineffectiveness, 44 reports of

 anxiety, and 13 reports of weight increase/hunger. Ex. 23; Bogan ¶¶32-34.

         Fourth, Avadel’s declarations—which (unlike Jazz’s) come from undisclosed witnesses

 who were not subject to cross examination2—do not establish that the injunction would disserve

 the public interest. Declarations from three HCPs (of 1,600+ oxybate HCPs) “regarding their

 personal preferences . . . cannot be interpreted and cited as though [they] represent[] that of the

 majority of doctors.” Mallinckrodt, Inc. v. Masimo Corp., 147 F. App’x 158, 177 (Fed. Cir. 2005).3

 The declarants have relationships with Avadel. Ex. 24 at 53-54, 156-157; Ex. 25. And all but 1

 patient do not say how long they have taken Lumryz or say that it has been no more than 6 months.

 Patients’ opinions on drugs change over time. See Patient 2, ¶ 6; Patient 3, ¶ 5.

         NP Lavender states that narcolepsy is well controlled with Jazz’s products and switching

 to Lumryz is about patient choice. Lavender, ¶¶ 15-17. “But eliminating a choice of drugs is not,

 by itself, sufficient to disserve the public interest.” Amgen Inc. v. Sanofi, 872 F.3d 1367, 1381

 (Fed. Cir. 2017); see also WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1343 (Fed. Cir. 2016). That

 is especially true where Avadel has told the world it has alternative formulations that do not


 2
   Avadel’s declarations violate at least FRCP 26 and FRE 701, 702, 801, and 802, and should not
 be considered. Jazz submits Kryger and Bogan to the extent they are considered.
 3
     Although pre-eBay, the court still weighed the public interest factor.


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 infringe claim 24. Br. at 12-13; Transamerica Life Ins. v. Lincoln Nat. Life Ins., 625 F. Supp. 2d

 702, 719-21 (N.D. Iowa 2009), rev’d on validity grounds, 609 F.3d 1364 (Fed. Cir. 2010); SynQor,

 Inc v. Artesyn Techs, No. 07-497, 2011 WL 238645, at *5-6 (E.D. Tex. Jan. 24, 2011).

        Fifth, Lumryz has no advantage over Xywav for IH. Xywav is approved once-nightly for

 IH. Citing only Dr. Stern’s say-so, Avadel claims the “vast majority of IH patients take [Xywav]

 twice nightly.” Op. at 9. There are 3,000+ IH patients on Xywav, yet Dr. Stern does not provide

 any evidence on how many Xywav or IH patients he treats, let alone that it is the vast majority of

 both. FDA approved once-nightly Xywav as safe and effective for IH and a peer-reviewed

 publication concludes that once-nightly dosing shows “similar” efficacy to twice-nightly. Ex. 26

 at 63, supp. Appendix p. 2; Bogan ¶24. And the separate FDA-labeled-indications and clinical

 study requirements disprove Avadel’s argument that IH and narcolepsy are not “distinct diseases.”

 Op. at 9. So do peer-reviewed papers. Exs. 27-31; Bogan ¶¶13-18; Kryger ¶¶7-9.

 II.    Jazz Established Irreparable Harm And Inadequacy Of Monetary Damages

        First, Jazz established causal nexus. Claim 24 adds much more to the prior art than “sachet

 packaging.” Op. at 11-13. Avadel does not dispute that claim 24 covers Lumryz as a whole. And

 unrebutted testimony shows that the invention is what makes a modified/immediate release

 oxybate formulation administrable and stable.        Tr. at 155:9-157:2.     If Lumryz were not

 administrable and stable, the FDA would not have approved it and no one would buy it. Avadel

 mischaracterizes claim 24 and the nexus law. Br. at 9-10; cf. AstraZeneca AB v. Apotex Corp.,

 782 F.3d 1324, 1337-40 (Fed. Cir. 2015) (pharmaceutical formulation is a driver of sales).

        Second, Jazz’s public statements do not contradict its proof of irreparable harm. Avadel

 does not dispute that it is purposefully targeting Jazz’s patients and taking market share, nor does

 the improper Rao declaration. The patients Avadel “switch[es]” are different from patients who




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 discontinued Jazz’s products. Ex. 32; Ex. 33 at 30. And while data Avadel relies on shows that

 Xywav sales increased Q1’23 to Q1’24, they did not increase as much as Xyrem sales decreased,

 which had been the trend before. Op., Ex. 6 at 27; Tr. 128:16-130:4; Ex. 5 at 80; Ex. 4 at 83.

                                                                            and further harm Jazz’s

 market share. Jazz suffered price erosion as a direct result of Lumryz’s launch. Br. at 6-7.

        Third, unlike in Advanced Cardiovascular (Op. at 15), Jazz has never licensed the patent-

 in-suit. Jazz’s decision to license unrelated patents covering Xyrem and Xywav to settle litigation

 is irrelevant. Acumed LLC v. Stryker Corp., 551 F.3d 1323, 1327-1329 (Fed. Cir. 2008). And

 contrary to Avadel’s argument (Op. at 15-16), the Federal Circuit “ha[s] never held . . . that in

 order to establish irreparable harm a patentee must demonstrate that it is entitled to lost

 profits.” Mytee Prods. v. Harris Rsch., 439 F. App’x 882, 887 (Fed. Cir. 2011).

        Fourth, despite Avadel’s claim (Op. at 16), practicing the invention is not a prerequisite

 for irreparable reputational harm, especially where the parties are direct competitors. Natera Inc.

 v. ArcherDx, Inc., No. 20-125, 2023 WL 9103876, at *3-4 (D. Del. Dec. 1, 2023). Nor is consumer

 confusion. Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1344-45 (Fed. Cir.

 2013). And, notably, Avadel does not deny the bases for Jazz’s reputational harm.

 III.   The Balance Of Hardships Favors Jazz

        Avadel refuses to take blame for its own poor decision-making. Br. at 11-13. It claims the

                                               (Op. at 10, 17-18), but Avadel was pleased with its

 net revenue in Q1’24 (Ex. 33 at 11).                             82.7% increase in year-over-year

 spending, including “higher compensation and legal costs.” Id. at 11-12. That could be cured by

 taking less pay, staying various litigations with Jazz, or not infringing. And in Bio-Rad and Hynix,

 unlike here, there was specific evidence of why possible non-infringing alternatives were not used.

 Bio-Rad, 967 F.3d at 1378-79; Hynix, 609 F. Supp. 2d at 985; Br. at 11-12.


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 IV.    Avadel Waived Its Unclean Hands Argument, And It Lacks Merit Regardless

        The unclean hands defense Avadel now offers was never pled and is waived. Bench Walk

 Lighting v. Everlight Electronics Co., No. 20-49, 2020 WL 5128086, at *1-2 (D. Del. Aug. 31,

 2020). Regardless, it lacks merit. See C.A. No. 21-941, D.I. 22, 28, 48, 56, 80, 84.

 V.     Jazz’s Ongoing Royalty Is The Correct One

        Avadel ignores case law (Br. at 19-20) that supports this Court’s authority to award an

 ongoing royalty rate greater than the jury’s 3.5% rate for past infringement.4 Avadel also does not

 dispute that it stands to make billions under Jazz’s requested rates, that it has no plans to launch a

 non-infringing alternative, and that it presented the jury with its argument that the validity of the

 claim 24 was uncertain as of the hypothetical negotiation. Id. at 18-20; D.I. 589.

        The jury’s 3.5% royalty rate is not “a fully-paid-up royalty.” Op. at 19-20. The jury

 awarded damages for “Avadel’s past infringement” using “Past Sales.” D.I. 579, at 11 (emphasis

 added). The jury also did not “apportion” damages to “20% of sales of Lumryz.” It mistakenly

 used Lumryz                                             $6,673,223.82—down to the exact penny.

 Compare Ex. 34 (Col. F, Row 54) with D.I. 579 at 11.5 Lumryz was not reformulated to be non-

 infringing after that date and claim 24 covers Lumryz as a whole. JTX-0006.19; Tr. 585:5-17,

 605:17-21, 606:7-17; AstraZeneca, 782 F.3d at 1337-38. Thus, there is no legal basis to award a

 lower royalty rate than Jazz requests, award an ongoing royalty based on “some fraction of Lumryz

 sales,” or to “decline to award any ongoing royalty” (Op. at 20).



 4
    Because Jazz will fully address the jury’s legally insufficient damages award in upcoming post-
 trial motions, Jazz reserves the right to further address the ongoing royalty if needed.
 5
    $6,673,223.82                                     ÷ $32,519,345 (net sales through Jan. 31,
 2024) = 20.52078176851348%. If anything, this shows that the jury credited gross sales (rather
 than net sales) as the appropriate base for past damages. The gross sales of Lumryz through
 January 31, 2024 as presented to the jury totaled              Ex. 35 (Col. F, Row 54).


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 20, 2024, I caused the foregoing to be electronically filed with

 the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

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